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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

JUANITA GARCIA,

       Plaintiff,

v.                                                         No. 1:12-CV-00383-LH-RHS

THE CITY OF FARMINGTON,

       Defendant.

             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT ON
           PLAINTIFF’S BREACH OF SETTLEMENT AGREEMENT CLAIM

       Defendant, the City of Farmington (the “City”), respectfully requests that this Court,

pursuant to Fed. R. Civ. P. 56, enter summary judgment in their favor as to Plaintiff’s breach of

settlement agreement claim. As discussed more fully in the Defendant’s contemporaneously

filed memorandum brief in support, the undisputed material facts establish that Defendants

complied with the terms of the settlement agreement and there has been no material breach.

Absent any breach, of course, any claim for breach of settlement agreement fails as a matter of

law. Thus, dismissal of this claim is appropriate. Because of the dispositive nature of this

motion, concurrence of opposing counsel was not sought.


                                     MODRALL, SPERLING, ROEHL, HARRIS
                                       & SISK, P.A.

                                     By: ___/s/ Lorena Olmos
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WE HEREBY CERTIFY that a true and correct copy
of the foregoing pleading was mailed to all counsel
of record this 14th day of November, 2013.

MODRALL, SPERLING, ROEHL, HARRIS
  & SISK, P.A.


By:     /s/ Lorena Olmos
      Lorena Olmos


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